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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                        :
ELLEN BARTELS AND FREDERICK L.                          :
BARTELS, JR., Individually and as                       :
Administrators of the Estate of Abrielle Kira           : C.A. NO.:
Bartels, Deceased,                                      : 1:16-cv-02145-CCC
                                       Plaintiffs,      :
                        vs.                             : (CONNER, C.J.)
                                                        :
THE MILTON HERSHEY SCHOOL,                              :
                                                        :
and                                                     :
                                                        :
THE HERSHEY TRUST COMPANY, AS                           :
TRUSTEE OF THE MILTON HERSHEY                           :
SCHOOL TRUST,                                           :
                         Defendants.                    :
                                                        :

                                       ORDER

       Now, this ____ day of ___________________, 2017, upon consideration of

the Joint Motion to extend the deadlines set forth in the Court’s June 20, 2017,

Case Management Order (Dkt. 59), jointly filed by Plaintiffs, Julie Ellen Wartluft

f/n/a Julie Ellen Bartels, and Frederick L. Bartels, Jr., Individually and as

Administrators of the Estate of Abrielle Kira Bartels, Deceased (together,

“Plaintiffs”), and Defendants The Milton Hershey School, and The Hershey Trust

Company, it is hereby ORDERED that the Joint Motion is GRANTED as follows:

       1.      The Court’s June 20, 2017, Case Management Order (Dkt. 59), is

vacated; and
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      2.    The Court shall issue a new Case Management Order extending all

deadlines by sixty days.




                                          _____________________________
                                          Christopher C. Conner, Chief Judge
                                          United States District Court
                                          Middle District of Pennsylvania




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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                       :
ELLEN BARTELS AND FREDERICK L.                         :
BARTELS, JR., Individually and as                      :
Administrators of the Estate of Abrielle Kira          : C.A. NO.:
Bartels, Deceased,                                     : 1:16-cv-02145-CCC
                                       Plaintiffs,     :
                        vs.                            : (CONNER, C.J.)
                                                       :
THE MILTON HERSHEY SCHOOL,                             :
                                                       :
and                                                    :
                                                       :
THE HERSHEY TRUST COMPANY, AS                          :
TRUSTEE OF THE MILTON HERSHEY                          :
SCHOOL TRUST,                                          :
                         Defendants.                   :
                                                       :

                JOINT MOTION TO EXTEND THE COURT’S
                      CASE MANAGEMENT ORDER

       Defendants The Milton Hershey School, and The Hershey Trust Company,

as trustee of The Milton Hershey School (identified in the caption and Amended

Complaint as “The Hershey Trust Company, as Trustee of the Milton Hershey

School Trust”), and Plaintiffs, Julie Ellen Wartluft f/n/a Julie Ellen Bartels, and

Frederick L. Bartels, Jr., Individually and as Administrators of the Estate of

Abrielle Kira Bartels, Deceased (“Abrielle Bartels”) (together, “Plaintiffs”), jointly

move to extend the deadlines set forth in this Court’s June 20, 2017, Case
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Management Order (Dkt. 59), pursuant to Federal Rules of Civil Procedure 6(b)

and 16(b)(4).

I.    BACKGROUND

      Following the filing of the Complaint in this action, on or about September

27, 2016, this case was transferred from the United States District Court for the

Eastern District of Pennsylvania to this judicial district. (Dkts. 18-19.) On

October 28, 2016, Plaintiffs filed an Amended Complaint against Defendants

bringing claims based on: the Fair Housing Act, 42 U.S.C. § 3602, et seq. (“FHA”)

(Count I); negligence (Count III); wrongful death (Count V); survival act (Count

VI); negligent misrepresentation (Count VII); intentional misrepresentation (Count

VIII); intentional infliction of emotional distress (Count IX); negligent infliction of

emotional distress (Count X); civil conspiracy (Count XI); breach of fiduciary duty

(Count XII); and negligence per se (Count XIII).1 (Dkt. 29.) On November 14,

2016, Defendants moved to dismiss some counts of the Amended Complaint for

failure to state a claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

(Dkts. 31-32.) On August 10, 2017, the Court granted Defendants’ partial motion

to dismiss. (Dkts. 63-64.)




      1
     Counts II, and IV from the original Complaint were omitted from the
Amended Complaint. See (Dkt. 1.)

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       The parties have diligently conducted written and oral discovery in this

action. Defendants have produced approximately 2,200 pages of documents, and

Plaintiffs have likewise produced approximately 600 pages of materials.

Supplemental written discovery is ongoing.

       The parties have also conducted over sixteen oral or videotaped depositions.

Plaintiffs and Defendants, in good faith, continue to schedule additional

depositions, including various third-party mental health providers, and an

incarcerated witness, Plaintiffs’ son Joshua Bartels.

II.    ARGUMENT

       Pursuant to Rule 16(b)(4), a pretrial scheduling order “may be modified only

for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). Rule

16(b)’s “good cause” standard “focuses on the moving party’s burden to show due

diligence.” Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 84 (3d

Cir. 2010). Here, for the following reasons, the parties have demonstrated due

diligence, and the deadlines set forth in the Court’s Case Management Order (Dkt.

59), should be extended by sixty days.

       First, Defendants’ motion to dismiss was recently decided by the Court on

August 10, 2017 (Dkt. 62-63), and Defendants have not had to file an Answer to

the Amended Complaint with potential Affirmative Defenses. (Dkts. 31-32.) Prior

to the September 8, 2017 discovery deadline, at the appropriate time the parties

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should be permitted to conduct discovery concerning the Answer, Affirmative

Defenses, and any responses thereto.

      Second, Plaintiffs filed a complex action advancing multiple theories of

liability based upon, inter alia, the FHA, and negligence based actions. According

to the Amended Complaint, Defendants discriminated against Abrielle Bartels

based upon a purported mental health disability. In order to adequately investigate

Plaintiffs’ claims and Defendants’ defenses, the parties intend to conduct

additional depositions as outlined in their Joint Case Management Plan and Initial

Disclosures. (Dkt. 35.) The parties intend to depose additional third-parties, such

as medical and mental health professionals, records custodians, as well as other

third-party fact witnesses. The parties are amicably working to schedule these

important discovery depositions.

      Third, in light of the causes of action asserted by Plaintiffs and the

allegations of mental health disabilities, Plaintiffs and Defendants have

subpoenaed third-party medical providers who have provided medical and mental

health treatment to Abrielle Bartels. Some of those providers, however, have

failed to comply with the subpoenas and have not produced documents.

Typically, third-party medical providers refuse to comply with subpoenas for these

types of records without a Court order (based on the Health Insurance Portability

and Accountability Act of 1996, and similar state laws, like the Pennsylvania

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Mental Health Procedures Act), and Defendants may need to request the Court’s

intervention to promptly secure these highly relevant documents. The parties are

actively meeting and conferring with third-party mental health providers in order to

obtain these highly relevant and discoverable medical materials.

        Fourth, undersigned counsel are the same counsel in Dobson v. Milton

Hershey School, et al., 1:16-CV-1958-CCC (M.D. Pa.), which is also assigned to

this Court. The Dobson matter involves complex theories of liability and causes of

action. The parties are coordinating discovery in that complex litigation as well.

        Fifth, the parties are filing this Motion jointly, and the discovery deadline

has not expired. Thus, the parties respectfully request that all Case Management

Order deadlines be extended for sixty days.

III.    CONCLUSION

        For the foregoing reasons, and for good cause shown, the parties jointly

request that the Court enter an Order extending all case management deadlines as

outlined above.




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Respectfully submitted,

/s Gregory F. Cirillo               /s Jarad W. Handelman
Gregory F. Cirillo, Esquire         Jarad W. Handelman, Esquire
(PA 46878)                          (PA 82629)
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                                    Counsel for Defendants
Dated: August 16, 2017




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                   CERTIFICATION OF CONCURRENCE

      Pursuant to Local Civil Rule 7.1, as this Motion is filed jointly, all counsel

concur with the Motion.

Respectfully submitted,


/s Gregory F. Cirillo                   /s Jarad W. Handelman
Gregory F. Cirillo, Esquire             Jarad W. Handelman, Esquire
(PA 46878)                              (PA 82629)
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Dated: August 16, 2017
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                         CERTIFICATE OF SERVICE
      I, Kyle M. Elliott, Esquire, hereby certify that I caused the foregoing Joint

Motion to Extend the Court’s Case Management Order to be filed electronically

with the Court, where it is available for viewing and downloading from the Court’s

ECF system, and that such electronic filing automatically generates a Notice of

Electronic Filing constituting service of the filed document upon all counsel of

record, including:

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Counsel for Plaintiffs

                                              /s Kyle M. Elliott
                                              Kyle M. Elliott, Esquire
Dated: August 16, 2017
